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Case 2:20-cv-00182-JCM-BNW Document 1 Filed 01/24/20

PHILIP J. TRENCHAK, ESQ.

Nevada State Bar No. 009924

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Attorney for Plaintiff

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UNITED STATES DISTRICT COURT

DISTRICT OF NEVADA

DOCTOR AARON BOMER, an individual,
Plaintiff,

¥5.

STATE OF NEVADA, SOUTHERN NEVADA
ADULT MENTAL HEALTH SERVICES, a
division of the State of Nevada, JOANNE
MALAY, an individual, JACKIE ARELLANO,
an individual,

Defendants.

 

 

 

 

CASE NO.:
COMPLAINT AND JURY DEMAND

Causes of Action:

1) Discrimination based on race, color, national
origin

2) Discrimination based on age
3) Retaliation due to age, race, color, national

origin

4) 42 U.S. Code § 1983
5) Defamation
6) LLE.D/N.LE.D.

COMPLAINT
Plaintiff, Doctor Aaron Bomer (hereinafter “Plaintiff”) by and through his attorney PHILIP J.

TRENCHAK, Esq., of Mullins and Trenchak, Attorneys at Law, hereby brings suit against STATE OF

NEVADA, SOUTHERN NEVADA ADULT MENTAL HEALTH SERVICES (hereinafter

“SNAMHS”), a division of the State of Nevada, and JOANNE MALAY (hereinafter “MALAY” or

“Joanne Malay” or “Ms. Malay”), and JACKIE ARELLANO (hereinafter “ARELLANO” or “Jackie

Arellano” or “Ms. Arellano”) an individual, and all Defendants mentioned herein (hereinafter

collectively “Defendants” or “All Defendants”), inclusive, and avers and alleges as follows:

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JURISDICTION

1. This is an action for damages arising under Title VII of the Civil Rights Act of 1964 (“Title
VII”), 42 U.S.C. §2000e to 2000e-17 (retaliation), violation of the ADEA, Retaliation, 42 U.S. Code §
1983, and state causes of action.

2. This Court has primary jurisdiction over claims set forth herein pursuant to 28 U.S.C. §
1331 (federal question), 28 U.S.C. §1343(a)(4\(civil rights action) and 42 U.S.C. §2000e-5((3 (unlawful
discrimination and retaliation in employment). This Court has supplemental jurisdiction over any state
law claims pled herein pursuant to 28 U.S.C. §1367.

3. All material allegations relative to the named defendants contained in this Complaint are
believed to have occurred in the State of Nevada, Clark County. Therefore, venue properly lies in the
southern division of the United States Court for the District of Nevada pursuant to 28 U.S.C. §1391(b)(2).

EXHAUSTION OF ADMINISTRATIVE REMEDY

4, Plaintiff initiated the process of filing a Charge of Discrimination against her former
employer, the Defendant named in this action, with the United States Equal Opportunity Commission
(“EEOC”) wherein she alleged discrimination on the basis of her age, sex and retaliation as a continuing
action. This was done within 300 days of the incident giving rise to this complaint.

5. Thereafter, Plaintiff's attorney received DR. AARON BOMER’s Notice of Right to Sue
from the US. Equal Employment Opportunity Commission and the
United States Department of Justice. Please see attached Exhibit A.

6. This action is being filed within 90 days of the “Right to Sue” Letters being received by
Plaintiff. Therefore this action is timely.
7. Plaintiff has exhausted her administrative remedy on all claims pled hereunder prior to

filing this action with this Court.

PARTIES
8. Plaintiff is, and was at all times material to this action, an individual, residing in the State
of Nevada, employed by Defendant.
9. Plaintiff is informed and believes, and thereupon alleges, that Defendant is and was at all

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times material to this action, STATE OF NEVADA, SOUTHERN NEVADA ADULT MENTAL
HEALTH SERVICES, a division of the State of Nevada.

10. JOANNE MALAY in her official capacity as Hospital Administrator of the Southern
Nevada Adult Mental Health Services.

11. JACKIE ARELLANO in her official capacity as Human Resources Director for Rawson
Neal.

GENERAL ALLEGATIONS

12. Plaintiff is informed and believes, and thereupon alleges, that DR. AARON BOMER,
Plaintiff, entered into employment with Defendant for over twenty (20) years.

13. On or about February 15, 2018, Dr. Bomer was not selected by Hospital administrator
Malay as a “key informant” for the agencies strategic plan despite his experience and the size of the
department that he oversees.

14. That Dr. Bomer reported this malfeasance to then Deputy Administrator of Clinical
Services for the Department of Public and Behavioral Health, Duane Young.

15. That on or about March 2, 2018, Dr. Bomer reported to Hospital Administrator Joanne
Malay and also reported to Human Resources Jackie Arellano, Human Resources Director via email
regarding concerns Dr. Bomer had about Malay circumventing his authority and choosing to work with
his subordinate staff directly.

16. On or about February 27, 2018 Dr. Bomer reported systemic inequitable employment
practices to Deputy Administrator Duane Young.

17. On or about March 2, 2018, Administrator Joanne Malay confirmed via email that Dr.
Bomer was being paid the exact same pay as his subordinate staff member, who Dr. Bomer was
supervising at the time which is inconsistent with NAC 284.204.

18. On or about March 5, 2018 during a phone call, Mr. Young discussed Dr. Bomer’s
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concerns and noted that selections on who is ultimately hired for a promotion is sadly based on who they
feel “comfortable” working with and the qualifications of the candidate are not really a factor.

19. Mr. Young is African American, and he noted that based on his experience in working
with Hospital Administrator Joanne Malay, she appears to be uncomfortable working with African
Americans.

20. In April of 2018, Dr. Bomer was not selected to attend a two (2) day retreat for leaders in
clinical services on how to become better leaders and build a better organization. Even though, Dr. Bomer
had the second largest department in the hospital.

21, On or about August 6, 2018 Mr. Young conducted a survey on the organizational culture
at Southern Nevada Adult Mental Health (SNAMHS) in which over two-hundred (200) employees
participated.

22, Mr. Young stated in an email to the agency that his “heart was heavy” after hearing stories
of racism and discrimination and outlined a strategic plan to address discrimination at SNAMHS.

23, Subsequently, after sending out the email, Mr. Young was transferred to a different agency
prior to implementing any strategic planning to address racism at Southern Nevada Adult Mental Health.

24. On or about July 26, 2019, Dr. Bomer received a meeting invite email from hospital
Administrator Joanne Malay to meet on July 29, 2019 at 9:00 am to discuss Social Services.

25. In attendance at this meeting was then Hospital Administrator Joanne Malay and Jackie
Arellano of SNAMHS Human Resources.

26. At this meeting, Dr. Bomer was informed that he was being put on administrative

reassignment pending notification of a formal investigation.

27. Dr. Bomer inquired what the investigation was about and Jackie Arellano indicated that
they did not know.
28. Dr. Bomer was so disturbed by these events that he became physically ill and took sick

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leave that day.

29, Administrator Malay sent Dr. Bomer a text message on that very day stating that Dr.
Bomer can take sick leave everyday if he chooses to do so.

30. On or about July 31, 2019, Dr. Bomer texted administrator Malay requesting
administrative leave with pay pending the outcome of the investigation to prevent damage his professional
reputation, and this request was denied.

31. Dr. Bomer possesses valid documentation of a former colleague that the courtesy of
obtaining “paid leave” was extended to a department head when that department head was facing the
exact same allegations.

32, A subsequent meeting was set up for August 1, 2019 at 9:00 am by administrator Joanne
Malay and Jackie Arellano via text message.

33. At this meeting, Dr. Bomer was then informed that there were allegations of sexual
harassment of “employees” which created a hostile workplace.

34. Dr, Bomer was issued a “NPD32” notice of investigation which indicated that Dr. Bomer

was being reassigned due to these allegations.

35, Dr. Bomer was scheduled to be interviewed on August 16, 2019 by investigator Deidre
McCain.
36. In Dr. Bomer’s sincere effort to preserve his professional reputation and to not

compromise his ability to lead his department in the future Dr. Bomer asked again if there was anyway
the organization could grant administrative leave with pay pending the outcome of the investigation and
this request was denied by Jackie Arellano, Human Resources director.

37. The Nevada Revised Statues indicate that this “leave with pay” may be granted during a
formal investigation of alleged wrongdoing.

38. As an alternative to “leave with pay,” Dr. Bomer was offered a position answering

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telephones in the main office by the front door of the building to further humiliate and degrade him.
39. Upon valid information and belief, the courtesy of granting a “paid leave” was extended

to a former colleague in this same position and circumstance.

40, Dr. Bomer continued to experience physical distress due to these events and went to see
his primary care physician.
41, Dr. Bomer’s treating physician ran an EKG and became alarmed with the results and took

Dr. Bomer off of work until he saw a cardiologist.

42, Dr. Bomer contacted and retained an Attorney on August 7, 2019.

43. Dr. Bomer’s attorney had to reschedule the interview for August 21, 2019 due to a
scheduling conflict.

44, Prior to the interview Dr. Bomer’s attorney contacted Ms. McCain on August 15, 2019 to

determine if there was any evidence of wrongdoing on Dr. Bomer’s part.

45, Subsequently, Dr. Bomer’s Representative and investigator McCain agreed that there was
no direct evidence of any wrongdoing on Dr. Bomer’s part and that the investigator did not want to
interview Dr. Bomer for any reason.

46. Moreover, Ms. McCain informed Dr. Bomer’s attorney that she was closing the case and
that Dr. Bomer should be receiving notification for Dr. Bomer’s employer releasing him to come back to
work,

47. The investigator granted this clearance on August 15, 2019.

48. On August 27, 2019, after not receiving clearance to return to work, Dr. Bomer contacted
the NAACP to file a complaint.

49. The NAACP sent an email to state officials on August 27, 2019 inquiring about the events
of the last month According to Annette Altman, SNAMHS, Human Resources there was a report received

from a community partner alleging “inappropriate conduct of a sexual nature” on Dr. Bomer’s part.
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50. Ms. Altman’s email is clearly inconsistent with what Human Resources wrote on the
NPD32 of August 1, 2019, which alleges that Dr. Bomer sexually harassed “employee or employees” and
created a hostile work environment.

51. SNAMHS did interview state employees even though Ms. Altman’s email alleges it was
a complaint from a community partner.

52. The NRS and the NAC clearly distinguish what an “employee” is and what a “work
environment” is.

53. Dr. Bomer received a letter dated September 9, 2019 from Agency administrator Lisa
Sherych, stating the allegations against Dr. Bomer were not substantiated.

54. Dr. Bomer had been utilizing FMLA/Sick leave and texting his supervisor Joanne Malay
since July 29, 2019.

55, Dr. Bomer returned to work on September 17, 2019 after receiving medical clearance from
his primary care physician.

56, On August 18, 2019, Dr. Bomer received information from Dr. Bomer’s administrative
assistant informing Dr. Bomer that Dr. Bomer’s subordinate, engaged in acts of a sexual nature in her
office which was witnessed by Social Worker Robert Benedict.

57, Dr. Bomer’s Administrative Assistant informed Dr. Bomer that she reported this conduct
to Hospital Administrator Joanne Malay and Jackie Arellano for follow-up via email on August 16, 2019.

38. Mrs. Guzzetta informed Dr. Bomer that her complaint was regarding this individual’s
conduct was never formally addressed.

59, Dr. Bomer possesses the email sent from Dr, Bomer’s Administrative Assistant to
Administrator Malay and Jackie Arellano.

60. On October 2, 2019, Dr. Bomer met with Administrator Joanne Malay for a scheduled

meeting to discuss Social Services and at this meeting MALAY directed that Dr. Bomer remove a certain
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subordinate from overseeing or performing services in the courts or jails due to his lack of
professionalism, consistency and follow-thru.

61. Dr. Bomer sent this individual an email on October 8, 2019 informing this individual of
Ms. Malay’s request.

62, On October 17, 2019 the subordinate who had been removed from working in the courts
or jails due to his lack of professionalism, and met with Hospital Administrator Malay at her request and
was informed that she decided to separate the department now this individual would oversee community
services which included the courts, jails and the Mobile Crisis team.

63. MALAY stated that this individual would be reporting directly to her going forward and
provided Dr. Bomer and his former subordiante with new work performance standards.

64. Joanne Malay then walked into the prescheduled Social Services meeting twenty (20)
minutes later and informed the entire Social Services department that Dr. Bomer was relieved of his duties
with respect to overseeing community services which humiliated and degraded Dr. Bomer.

65. This behavior on the part of Malay also constitutes “bullying” in direct contravention of
division policy.

66. Dr. Bomer has performed successfully in this capacity for over six (6) years.

67. On October 21, 2019 Dr. Bomer sent an email to then Deputy Administrator Jennifer
Sexton regarding this blatant retaliatory and hostile treatment on the part of hospital administrator Joanne
Malay.

68. On October 22, 2019, Dr. Bomer sent an email communication to Hospital Administrator
Joanne Malay regarding improper governmental actions pertaining to the violation of patients’ rights in
the “one page” denial of rights process for mental ill patients at Rawson Neal Psychiatric Hospital.

69. Dr. Bomer requested this matter be escalated to division for clarification and resolution.

70. On November 15, 2019, Dr. Bomer received a NOTICE OF EMPLOYEE RIGHTS
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DURING AN INTERNAL INVESTIGATION and was informed by SNAMHS Human Resources
representatives Elisa Diaz — Bitter and Christine Moebius that he was being investigated stemming
allegations that Dr. Bomer failed to properly report and respond to serious incidents regarding allegations
against a caregiver who was previously under Dr. Bomer’s supervision and that SNAMHS Human
Resources became aware of the incident on October 18, 2019.

71, Dr. Bomer was informed that he would be formally interviewed regarding this allegation
on November 20, 2019.

72, According to NRS 284.387, the above- mentioned notice is required to be provided to the
employee within thirty (30) days after the appointing authority becomes aware or should have reasonably
become aware of the allegations.

73. These new allegations were made against Dr. Bomer by an unnamed individual during a
disciplinary meeting for that same individual on October 10, 2019.

TA, The unnamed individual, upon valid information and belief, is the same individual that
made the unfounded allegation that Dr. Bomer was the sexual harassment perpetrator that resulted in the
investigation that began in July of 2019.

75. This original meeting on October 10, 2019 was attended by Jackie Arellano, Dr. Bomer,
and the unnamed individual, and Christine Moebuis who took notes during the meeting.

76, This investigation is therefore outside the timeframe specified in NRS 284.387.

77. Dr. Bomer was subsequently interviewed with his attorney present on November 20, 2019
by investigators Francis Twigg and Debra Mitchell- Wright who stated they would provide us a copy of
the complaint.

78. A follow-up correspondence was sent on November 22, 2019 and again on November 30,
2019.

79, Investigator Mitchell did acknowledge receipt of the request on December 2, 2019
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however the original complaint has never been received.

80. On November 2, 2019 Dr. Bomer met with administrator Joanne Malay to discuss social
services. During this meeting, Mrs. Malay referred to a Social Worker of African American decent as a
“boy” she went on to demean this Social worker stating that “I don’t where he is from but people don’t
respect him.”

81. On December 17, 2019 in the Executive Leadership Meeting, Hospital Administrator
Joanne Malay, while inquiring about the monthly report that Dr. Bomer submitted te the members of the
committee asked if someone else in the meeting could articulate for her what she was trying to say to Dr.
Bomer, thereby strongly insinuating that Dr. Bomer was incapable of comprehending what MALAY was
stating.

82. As a supervisor, Dr. Bomer understands and believes strongly that all allegations of sexual
harassment and or hostile work environment must be taken seriously and investigated.

83. Dr. Bomer has recently been made aware and has factual evidence of incidences of staff
members at the Rawson-Neal Psychiatric Hospital who are Caucasian and are in fact engaging in
inappropriate sexual behavior and workplace bullying and their actions have yet to be addressed by
Administrator Malay and Jackie Arellano or the State of Nevada. However, it is quite clear that in Dr.
Bomer’s case, it was a rush to judgement with an unsubstantiated complaint by a questionable individual
with no evidence of wrongdoing on Dr. Bomer’s part which.

84. The logical conclusion is that this treatment is based on discriminatory intentions.

85. Moreover, not only has Dr. Bomer been treated unfairly in comparison to his caucasian

coworkers, but this rush to judgment has damaged Dr. Bomer’s professional reputation and has critically

affected his health.
86. Plaintiff was discriminated against.
87. Individuals not of his protected class were treated in a much more favorable manner than

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Dr. Bomer.
88. Plaintiff suffered additional damages set forth in this Complaint.

FIRST CAUSE OF ACTION
(Discrimination Based on Race, Color, National Origin in violation of State and Federal Statutes)
Against Defendant SNAMHS

89. Plaintiff incorporates ali of the allegations in the preceding paragraphs as though fully set
forth herein.
90. Plaintiff is a member of the class of persons protected by state and federal statutes

prohibiting discrimination based on race, color, and national origin.

91. Defendant as an employer is subject to Nevada and federal statutes prohibiting
discrimination, NRS 613.330 et. seq. and Title VII, 42 U.S.C. § 2000e et. seq. as amended and thus, has
a legal obligation to provide Plaintiff and all employees a workplace free of unlawful discrimination.

92. Defendant refused to take reasonably adequate steps to prevent discrimination against
Plaintiff to disparate terms of employment based upon race, color, and national origin.

93. Plaintiff was continually subjected to race-based discrimination and complained of that

discrimination to management.

94. Defendant did not remedy the discrimination.
95. Defendant allowed the discrimination to continue.
96. Defendant allowed the individuals committing the discrimination to show open hostility

after the discrimination was complained about to members of management.

97. Defendant discriminated against Dr. Bomer when Defendant retained as employees,
managers who continued to subject Plaintiff to discrimination in the workplace throughout the entirety of
his term of employment with Defendant.

98. No other similarly situated persons, not of Dr. Bomer’s protected class, were subject to

the same or substantially similar treatment.
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99, Plaintiff suffered adverse economic impact including but not limited to loss of pay,
benefits, expenses and other damages which will be more fully described at the time of trial.

100. Plaintiff was embarrassed, humiliated, angered and discouraged by the discriminatory
actions taken against her.

101. Plaintiff suffered and continues to suffer compensable emotional and physical harm,
including but not limited to, headaches, sleeplessness, anxiety and depression resulting from this unlawful
discrimination by his employer,

102, Plaintiff suffered actual physical harm manifested in medical irregularities due to the
intense mental anguish which was a direct result of the dilatory behavior of Defendant Employer,

103. Plaintiff is entitled to be fully compensated for her emotional disturbance by being forced
to endure this discrimination.

104. Pursuant to 1991 Amendments to title VII, Plaintiffis entitled to recover punitive damages
for Defendant’s malicious, intentional repeated violations of federal and state civil rights laws.
Discrimination based on race, national origin, and color has been illegal since 1964 and an employer of
the size, reputation and experience of Defendant should have not engaged in this blatant discrimination.

105. Plaintiff suffered damages in an amount to be deemed sufficient by the jury.

106. Plaintiff is entitled to an award of reasonable attorney’s fees.

107. Defendant is guilty of oppression, fraud or malice, express or implied as Defendant
knowingly and intentionally discriminated against Plaintiff because of his race, color, national origin or
a combination thereof.

108. Therefore, Plaintiff is entitled to recover damages for the sake of example, to deter other
employers from engaging in such conduct and by way of punishing the Defendant in an amount deemed
sufficient by the jury.

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SECOND CAUSE OF ACTION
(Violation of the Age Discrimination in Employment Act (ADEA)
Against Defendant SNAMHS

110. Plaintiff incorporates all of the allegations in the preceding paragraphs as though fully set

forth herein.

111. Plaintiff is over the age of forty (40), and therefore is a member of the class protected
pursuant to the ADEA.

112. Plaintiff was treated in a disparate manner in relation to those individuals not of this

protected class.
113. This matter is described above in the “General Allegations” of this Complaint.
114, Specifically, Plaintiff was subjected to an intense investigation into his behavior which
115. Upon information and belief, the disparate treatment of individuals .

THIRD CAUSE OF ACTION
(Retaliation based upon race, age, color, and national origin under Federal Law, 42 U.S.C. §
2000e-3 and Nevada State Law, NRS 613.340)
Against Defendant SNAMHS

116. Plaintiff incorporates all of the allegations in the preceding paragraphs as though fully set
forth herein.

117. In violation of 42 U.S.C § 200e-3, Defendant retaliated against Plaintiff after he

complained of acts which he reasonably believed were discriminatory.

118. In violation of NRS 613.340 Defendant retaliated against Plaintiff after he complained of
acts which she reasonably believed were discriminatory.

119. The behavior complained of also constitutes retaliatory harassment and the creation of an
illegally hostile environment.

120. There may be more detrimental acts of which Plaintiff is unaware which may also
constitute retaliation in that it harmed Plaintiff in her workplace.

121. The aforementioned actions and conduct by Defendants constitutes illegal retaliation

which is prohibited by federal and state statutes.

 
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122. Plaintiff has been seriously harmed, economically and emotionally by this unlawful
retaliation and she is entitled to be fully compensated therefor.
123. Plaintiff had to engage in the services of attorneys for representation in this matter and is

entitled to an award of reasonable attorney’s fees.

 

FOURTH CAUSE OF ACTION
(42 U.S. Code § 1983 - Civil action for deprivation of rights)
Against all Defendants
124. Plaintiff incorporates all of the allegations in the preceding paragraphs as though fully set
forth herein.

125. That SNAMHS is a government run division of the State of Nevada which subjected
Plaintiff to the above described indignities and damages under color of state law.

126. That SNAMHS’s conduct deprived the plaintiff of rights, privileges, or immunities

guaranteed under federal law or the U.S. Constitution.

127. That beginning at a time on or about July 22, 2019, Defendants combined, conspired,
confederated, and agreed together and with each other to knowingly and willfully engage
in the following acts, among others to cause harm to Plaintiff because of his race.

a. To violate Plaintiff's civil rights;
b. Defendants were acting under color of state law.

128. At all times material and relevant herein, Defendant, MALAY was acting within the scope
of her authority as an agent of SNAMHS.

129. At all times material and relevant herein, Defendant, ARELLANO was acting within the

scope of her authority as an agent of SNAMHS.

130. SNAMHS condoned the behavior of MALAY as its managing agents were aware of her

behavior toward African-Americans.

131. SNAMHS condoned the behavior of ARELLANO as its managing agents were aware of
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her behavior toward African-Americans.

132. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiff experienced
damages and is entitled to compensation for her pain and suffering, lost earnings, medical expenses, and
other related costs including, but not limited to, attorney fees in excess of SEVENTY-FIVE THOUSAND
DOLLARS ($75,000.00).

133. The conduct of the Defendants, and each of them, individually and in concert with one
another as herein alleged was willful, intentional, oppressive, fraudulent, malicious and done in a wanton
and reckless disregard of Plaintiffs rights and thereby warrant the imposition of punitive damages in
excess of SEVENTY-FIVE THOUSAND DOLLARS ($75,000.00) as to the Defendants in their
individual capacity.

134. Plaintiff had to engage the services of attorneys for representation in this matter and is
entitled to an award of reasonable attorney’s fees.

135. Plaintiff suffered damages, due to the violation of 42 U.S. Code § 1985 in an amount to
be deemed sufficient by the jury.

136. Defendants are guilty of oppression, fraud or malice, express or implied as Defendant
knowingly and intentionally discriminated against Plaintiff because of her age.

137. Therefore, Plaintiff is entitled to recover damages for the sake of example, to deter other
employers from engaging in such conduct and by way of punishing the Defendants in an amount deemed
sufficient by the jury.

138. That Plaintiff is entitled to recover damages for the sake of example, to deter other
employers from engaging in such conduct and by way of punishing the Defendant in an amount deemed
sufficient by the jury.

139. Plaintiff had to engage in the services of attorneys for representation in this matter and is

entitled to an award of reasonable attorney’s fees.
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FIFTH CAUSE OF ACTION
(DEFAMATION)
Against all Defendants

140. Plaintiff incorporates all of the allegations in the preceding paragraphs as though fully set
forth herein.

141. 1.) Defendant made a false and defamatory statement concerning plaintiff; 2.) An
unpriviled publication of this statement was made to a third person; 3.) Defendant was at least negligent
in making the statement; and 4.) Plaintiff sustained actual of presumed damages as a result of the
statement. Pagasus v. Reno Newspapers, Inc., 118 Nev. 706, 57 P.3d 82 (2002). See Simpson v. Mars
inc., 113 Nev. 188, 929 P.2d 966 (1997); Chowdry v. NLVH, Inc., 109 Nev. 478, 851 P.2d 459 (1993).

142, Upon valid information and belief, this underlying “sexual harassment” allegation arose
during training wherein an individual stated “A person in a high position at Rawson Neil is inappropriate.”

143. A certain individual then took that statement and decided in an extremely reckless and
careless manner to extrapolate that that individual was in fact Dr. Bomer.

144. This person, who shall remain nameless at this time, given certain protections that a
“supposed whistleblower” may enjoy.

145. Upon information and belief, thirty (30) individuals were interviewed regarding alleged
inappropriate behavior on the part of Dr. Bomer due to this unfounded allegation.

146. The individual that is believed to have made this statement is known to Human Resources
to be a serial complainer.

147. Management took this unfounded allegation and proceeded to dismantle Dr. Bomer’s

reputation and career through a thorough interview process which cleared Dr. Bomer of all wrongdoing

in a matter of a few weeks.

148. This statement was blatantly false, given that the investigation cleared Dr. Bomer of any

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wrongdoing.

149. The individual making this statement is known to have made numerous accusations on a
regular basis which are also patently false.

150. The investigation was conducted without any foundation whatsoever to support the
veracity and/or good faith thereto.

151, The investigation had the net result of spreading rumor and innuendo and destroying the
reputation of an esteemed Doctor who is the Director of Rawson-Neal Social Services Department.

152. Plaintiff is entitled to an award of reasonable attorney’s fees.

SIXTH CAUSE OF ACTION
(Intentional/Negligent Infliction of Emotional Distress)
Against all Defendants

153. Plaintiff incorporates all of the allegations in the preceding paragraphs as though fully set
forth herein. |

154. Defendants’ conduct toward Plaintiff was extreme and outrageous and caused significant
emotional harm, headaches, sleeplessness and various physical and mental distress.

155. Defendants’ conduct was extreme, outrageous, and undertaken with either intent or,
reckless disregard for causing Plaintiff emotional distress.

156. Defendants had a duty to refrain from engaging in the hostile and retaliatory acts as
described above.

157. Defendants breached that duty.

158. Defendants intentional or negligent conduct was the legal, actual, proximate cause of
Plaintiff's extreme and/or severe emotional distress by engaging in the conduct described herein.

159. Plaintiff has been seriously harmed, economically and emotionally by this unlawful
retaliation and she is entitled to be fully compensated therefor.

160. Plaintiff is entitled to an award of reasonable attorney’s fees.
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WHEREFORE, Plaintiff prays for relief against Defendants, each of them, as follows:
ON ALL CAUSES OF ACTION

1. For compensatory damages in the principal amount in excess of seventy-five thousand
dollars ($75,000.00) to be proven at trial;

2. For punitive damages in the principal amount in excess of seventy-five thousand dollars
($75,000.00) to be proven at trial;

3, For special damages in the principal amount in excess of seventy-five thousand dollars,
($75,000.00) to be proven at trial;

4, For attorney’s fees and costs incurred;

2 For all damages in an amount to be proved at trial;

6. For costs of suit herein incurred;

iE For reasonable interest on amounts due; and

8 For any such other and further relief as this Court deems just and proper.

DATED this 24" day of January, 2020.

MULLINS & TRENCHAK, ATTORNEYS AT LAW

Philip J. Trenchak, Esq.

Nevada Bar No. 009924

Mullins & Trenchak, Attorneys at Law
1614S. Maryland Parkway

Las Vegas, NV 89104

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PLAINTIFF’S JURY DEMAND
Plaintiff, DR. AARON BOMER by and through her attorneys of record, PHILIP J. TRENCHAK,

ESQ. and VICTORIA MULLINS, ESQ. of the law firm MULLINS & TRENCHAK, ATTORNEYS AT
LAW, respectfully submits this Demand for Jury pursuant FRCP 38 in the above captioned matter.
DATED this 24" day of January 2020.

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MULLINS & TRENCHAK, ATTORNEYS AT LAW

PHILIP J. TRENCHAK, ESQ.
Nevada State Bar No. 009924
VICTORIA C. MULLINS, ESQ.
Nevada State Bar No. 13546
1614 S. Maryland Parkway

Las Vegas, Nevada 89104

P: (702) 778-9444

F: (702) 778-9449

E: phil@mullinstrenchak.com

E: victoria@mullinstrenchak.com
Attorneys for Plaintiff

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Exhibit A
“Right to Sue” Notices
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U.S. Department of Justice
Civil Rights Division
NOTICE OF RIGHT TO SUE WITHIN 90 DAYS

 

CERTIFIED MAIL 950 Pennsylvania Avenue, N.W.
a Karen Ferguson , EMP, PHB, Room 4701
7018 1830 0000 1244 7723 Washingwon, DC 20530

January 03, 2020

Dr. Aaron Bomer

c/o Philip Trenchak, Esquire

Law Offices of Mullins & Trenchak
1614 S. Maryland Pkwy.

Las Vegas, NV 89104

Re: EEOC Charge Against Rawson-Neal Psychiatric Hospital
No. 487201902005

Dear Dr. Bomer:

Because you filed the above charge with the Equal Employment Opportunity Commission, and the
Commission has determined that it will not be able to investigate and conciliate that charge within 180
days of the date the Commission assumed jurisdiction over the charge and the Department has
determined that it will not file any lawsuit(s) based thereon within that time, and because you through
your attomey have specifically requested this Notice, you are hereby notified that you have the right to
institute a civil action under Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. 200Ce, et

seq., against the above-named respondent.

If you choose to commence a civil action, such suit must be filed in the appropriate Court within 90
days of your receipt of this Notice.

The investigative file pertaining to your case is located in the EEOC Las Vegas Local Office, Las
Vegas, NV.

This Notice should not be taken to mean that the Department of Justice has made a judgment as to
whether or not your case is meritorious.

Sincerely,

Eric 8. Dreiband
Assistant Attorney General
Civil Rights Division

. (inte Cerner

Karen L. Ferguson
Supervisory Civil Rights Analyst
Employment Litigation Section

ec: Las Vegas Local Office, EEOC
Rawson-Neal Psychiatric Hospital
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EEOC Form 951-0 4117153 ' U.S, GQuat EMPLOYMENT OPPORTUNITY COMMISSION :
NOTICE OF RIGHT TO SUE (ISSUED ON REQUEST}
Ta: Aaron Bomer Prom: Las Vegas Local Office
tio: MULLINS & TRENCHAK, ATTORNEYS AT LAW 35 Las Vegas Bid South
atin: Philip Trenchal . -
1612, Maryland Py Las Vegas, NV 8810T
Las Vegas, NY 3904

[—] on bebat of persons} aggrieved whose identity is

 

 

CONFIDENTIAL (25 CFF 51501. 7fay)
EEOC Charga No. EEOC Representative Telephone No.
Ruth |. ibarra,
487-2015-02005 investigator f702) 335-5085
"(See aise tha stidional information enctosad with this fom)
NOTICE TO THE PERSON AGGRIEVED:

Tite Vi of the Civit Rights Act of 1964, tha Amaricans with Disabilities Act (ADA), or the Genetic Information Nondiscrimination
Ast §GINA): This is your Notice of Right to Sue, issued under Tile Vil, the ADA or GINA based on the ebeve-numbered charge. it has
been issued at your request. Your lavesuit under Tile VI, the ADA or GINA must be fied In a federal or state court

of your receipt of this notice: or your right io sue bared on this cherge wilbelost, (The time limit for filing suit basad ana claim usder

’ state law may be different}
Pr More thar 160 days have passed since the fling of this charge,

FE] Less than 180 days have passed since the fling of this charge, but! have determined thalit is untikely that the EEOC wil
be able to complele is sdednistrative processing withli 180 days fam the filing of this charge.

[7] “The ££ 0c Is termineting its processing of this charge.

[] The EEOC wit continue to process this charge.

- Age Discrimination In Employment Act {ADEA}: You may sue under the ADEA ai any ime from 60 days aller the change was filed until
20 days afler you receive notled thal we have completed action on the charge. In this regard, the paragraph marked below applies to
your cass: .
KX] The EEOC is closing yourcase, Therefore, your lewsuit under the ADEA must be filed in federal or state court WITHIN
90 DAYS of your recsipt of this Notice. Othervise, your ight is sue based on the above-numbered charge wil ba lost

CI The EEOC Is continuing its handling of your ADEA tase, However, if 60 days have passed since the filing ofthe charge,
you may fila suitin federal orsiate court onder the ADEA al this fime.

Equel Pay ActiEPA}: You alreaciy have the right to sue undes tha EPA Gilling an EEOC cherge is net required.) EPA suits must be brought
in federal or state count within 2 years (3 years for wilful violations) of the alleged EPA underpayment, This means that at backpay due fer
any violations that eccurred more then 2 years [5 years) before you fle suk may not Se collectible.

Ifyou file sult, besad on this charge, please send a copy of your court compinini fo this office.

 

Cn behel of the Commissio
JAN -3 2020
Enciosures(s) Patricia A. Kana, . (Oate Ateved}

Acting Director

ec: Jackle L. Arellano, Personnel Officer 2
NEVADA DEPT. OF HEALTH AND HUMAN SERVICES
1321 5, Jones Blvd
Las Vegas, NV 49146

 

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Enolssure with EEOC
Form 161 (146}

INFORMATION RELATED TO FiLinc Suir
UNDER THE Laws ENFORCED BY THE EEOC

(This information reletes to filing suit in Federal or State court under Federal few.
if you also plart fo sue claiming violations of State jaw, please be aware that fime fils and offer
Provisions of Stale law may be shorter or more limited than those described below.)

Title Vii of the Civil Rights Act, the Americans with Disabilities Act (ADA),
the Genetic Infermation Nondiscrimination Act (GINA), or the Age
Discrimination in Employment Act {ADEA):

PRIVATE SUIT RIGHTS

in order fo pursue this matier further, you must fife 2 laweuit against the respondent(s) named in the charge within
90 days of the date you receive this Notice. Therefore, you should keep a record of this date. Once this 90-
day period is over, your right fo sue based on the charge referred to in this Notice will be lost. if you intend to
consult an attomey, you should da so promptly. Give your atiomey a copy of this Notice, and its envelope, and tell
him or her the date you received it, Furthermore, in order to avoid any question that you did not act in a timely
manner, It is prudent that your suit de filed within 90 days of the date this Notice was majlfed to you (as
indicated where the Notice is signed) or the date of the postmark, if later.

Your Jawsult may be filed in U.S. District Court or a State court of competent jurisdiction. (Usually, the appropriate
State court Is the general civil trial court.} Whether you file in Federal or State court is 2 matter for you to decide
after talking to your attorney. Filing this Notice is not enough. You must file a “complaint” thet contains a shert
statement of the facts of your case which shows that you are entitied to relief. Courts often require that a copy of
your charge must be attached to the complaint you file in court. If so, you should remove your birth date from the
charge, Some courts will not accept your complaint where the charge includes a date of birth. Your suit may include
any matter alleged in the charge or, to the extent permitted by court decisions, matters like or related to the matters
alleged in the charge. Generally, suits are brought in ihe State where the alleged unlawful practice occurred, but in
some cases can de brought where relevant employment records are kept, where the employment would have
been, or where the respondent has its main office. If you have simple questions, you usually can get answers from
the office of the clerk of the court where you are bringing suit, but de not expect that office to write your complaint
or make legal sitategy decisions for you.

PRIVATE SUIT RIGHTS = -- Equal Pay Act (EPA):

EPA suits must be filed in court within 2 years (3 years for willful violations) of the alleged EPA underpayment: back -
pay due for violations that occurred more than 2 years {3 years) before you file suit may not be collectible. For
example, if you were underpaid under the EPA for work performed from 7/4/08 to 12/1/08, you shoutd file suit
before 7/41/10 — not 12/1710 — in order to recover unpaid wages due for July 2008. This time. limit for filing an EPA
suit is seperate from the 90-day filing period under Title Vil, the ADA, GINA or the ADEA referred io above,
Therefore, if you also plan to sue under Title VH, the ADA, GINA or the ADEA, in addition to suing on the EPA
clair, suit must be filed within 90 days of thls Notice and within the 2- or 3-year EPA back pay recovery period.

ATTORNEY REPRESENTATION -- Title Vil, the ADA or GINA:
If you cannot afford or have beer unable to cbtain a lawyer to represent you, the U.S, District Court having jurisdiction
in your case may, in limited circumstances, assist you in obtaining a lawyer. Requests for such assistance must be
made to the U.S. District Court in the form and manner it requires (you should be prepared fo explain in detail your
affarts te retain an attorney}. Requests should be made well before the end of the 90-day period mentioned above,
because such requests do not relieve you of the requirement io bring suit within 90 days,

ATTORNEY REFERRAL ANDO EEOC ASSISTANCE ~ All Statutes:

You may contact the EEOC representative shown on your Notice If you need help in finding a lawyer or if you have any
questions about your legal rights, including advice on which U.S. District Court can hear your case. If you need to
inspect or obtain a copy of information in EEOC's file on the charge, please request it promptly in writing and provide
your charge number (as shown on your Notice), While FFOC destroys charge files after a certain time, ail charge files
ars kept for at least 6 months after our last action on the case. Therefore, if you file suit and want to review the charge
fie, please make your review request within 6 months of this Nofice. (Before filing sult, any request should be-

made within the next 90 days.)
fF YOU FILE SUIT, PLEASE SEND A COPY OF YOUR COURT COMPLAINT TQ THIS OFFICE.

 

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Case 2:20-cv-00182-JCM-BNW Document1 Filed 01/24/20 Page 24 of 24

U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

Las Vegas Local Office
Lloyd D George US Courthouse
333 Las Vegas Blvd. South, Suite 5560
Las Vegas, NV 89101
Intake Information Group: (800) 669-4000
Intake Information Group TTY: (800) 669-6820
Las Vegas Direct Dial: (702) 388-5013
FAX (702) 388-5094
Website: www.eeoc.zov

 

Charge No: 487-2019-02005
Aaron Bomer
c/o Mullins & Trenchak, Attorneys at Law
Attn: Philip Trenchak, Esq.
1614S, Maryland Pkwy.
Las Vegas, NV 89104

Dear Mr. Bomer:
The Commission has received your request for a Notice of Right to Sue in the above-referenced charge. Your request
has been forwarded to the U. 8. Department of Justice for action. That agency will act on your request as soon as
possible and issue the Notice directly to you.

If you have any questions, please write:

Karen Ferguson, Supervisory Civil Rights Analyst
USDOJ, CRT, Employment Litigation Section

4 Constitution Square

150 M. Street, NE, RM 9.524

Washington D.C. 20530

Your charge alleged discrimination based on violation of one or more of the following laws:

Title VII of the Civil Rights Act _X_
Age Discrimination in Employment Act(ADEA) _ X___

If your charge includes an ADEA basis, please note the following: While Title VII, the ADA and GINA require the
issuance of a Right to Sue before you can bring suit under the law; you obtained the right to sue under the ADEA
when you filed your charge, subject to a 60-day waiting period. ADEA suits must be brought within 99 days of the
date of your receipt of this notice. Otherwise, your right to sue on the above-numbered charge will be lost. Individuals
filing EPA claims may proceed directly into court. EPA suits must be brought in federal or state court within 2 years
(3 years for willful violations) of the alleged EPA underpayment. This means that backpay due for any violations
that occurred more than 2 years (3 vears) before you file suit may not be collectible.

 

With the issuance of this letter, the Commission is terminating its process with respect to this charge.

On Behalf of the Commission:

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Date Parficia Kane, Acting Director
Las Vegas Local Office
eo: Rawson-Neal Psychiatric Hospital

c/o Nevada Dept. of Health and Human Services
Atin: Jackie Arellano, Personnel Officer II
1321 8. Fones Blvd.

Las Vegas, NV 89146
